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San Diego Regional Water Board


-   9        MCC San Diego                              Bureau of Prisons                           Within Urbanized Area       New




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    9    San Diego State University                     California State University                 Within Urbanized Area       New

    9    California State University San Marcos         California State Universit}"                Within Urbanized Area       New
         (    J Donovan Correctional Facility at Rock
    9        Mountain                                   Corrections and Rehabilitation, Dept of     Within Urbanized Area       New

    9        Miramar Marine Corps Air Station           Defense , Department of                   Regional Board Designation    New



-   _g__ Camp Pendleton
    9        Del Mar Fairgrounds
                                                        Defense, Department of

                                                        District Agricultural Association
                                                                                                    Within Urbanized Area

                                                                                                           Renewal
                                                                                                                                New

                                                                                                                               Renewal

    9    San Diego County Fairgrounds                   District Agricultural Association           Within Urbanized Area       New

    9        North County Transit District (NCTD)       Transportation Agency                     Regional Board Designation    New

    9        University of California, San Diego        University of California                    Within Urbanized Area       New

    9    lvA San Diego Healthcare System                Veteran Affairs                             Within Urbanized Area       New




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                Special Conditions (Specific Provisions) for Traditional and
                       Non-Traditional Small MS4 ASBS Discharges


All Traditional and Non-traditional Small MS4 Permittees that discharge to ASBS as listed in
Attachment D have been granted an exception to the Ocean Plan and shall comply with the
following Special Protections requirements. Special Protections for Areas of Special Biological
Significance, Governing Point Source Discharges of Storm Water and Nonpoint Source Waste
Discharges (Attachment B to State Water Board Resolution 2012-0001) (Special Protections).

The Special Protections for Areas of Special Biological Significance require submittal of
Compliance Plans to be included in a SWMP. However, SWMPs are no longer required for
submittal by this Order. As such, Permittees shall submit a stand-alone Compliance Plan
document for ASBS discharges and submit per the Special Conditions compliance schedule,
through their online Annual Report.

I. PROVISIONS FOR POINT SOURCE DISCHARGES OF STORM WATER
The following terms, prohibitions, and special conditions (hereafter collectively referred to as
special conditions) are established as limitations on point source storm water. These special
conditions provide Special Protections for marine aquatic life and natural water quality in Areas
of Special Biological Significance (ASBS), as required for State Water Quality Protection Areas
pursuant to California Public Resources Code Sections 36700(f) and 36710(f). These Special
Protections are adopted by the State Water Board as part of the California Ocean Plan (Ocean
Plan) General Exception.

A. PERMITTED POINT SOURCE DISCHARGES OF STORM WATER
    1. General Provisions for Permitted Point Source Discharges of Storm Water

           a. Existing storm water discharges into an ASBS are allowed only under the
              following conditions:

                  (1) The discharges are authorized by this Order;

                  (2) The discharges comply with all of the applicable terms, prohibitions, and
                      special conditions contained in the Special Protections as laid out in this
                      Attachment; and

                  (3) The discharges:

                          (i) Are essential for flood control or slope stability, including roof,
                              landscape, road, and parking lot drainage;

                          (ii) Are designed to prevent soil erosion;

                          (iii) Occur only during wet weather;

                          (iv) Are composed of only storm water runoff.

           b. Discharges composed of storm water runoff shall not alter natural ocean water
              quality in an ASBS.


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         c.   The discharge of trash is prohibited.

         d. Only discharges from existing storm water outfalls are allowed. Any proposed or
            new storm water runoff discharge shall be routed to existing storm water
            discharge outfalls and shall not result in any new contribution of waste to an
            ASBS (i.e., no additional pollutant loading). "Existing storm water outfalls" are
            those that were constructed or under construction prior to January 1, 2005. "New
            contribution of waste" is defined as any addition of waste beyond what would
            have occurred as of January 1, 2005. A change to an existing storm water
            outfall, in terms of re-location or alteration, in order to comply with these special
            conditions, is allowed and does not constitute a new discharge.

         e.   Non-storm water discharges are prohibited except as provided below:

                (1) The term "non-storm water discharges" means any waste discharges
                    from a municipal separate storm sewer system (MS4) or other NPDES
                    permitted storm drain system to an ASBS that are not composed entirely
                    of storm water.

                (2) The following non-storm water discharges are allowed, provided that the
                    discharges are essential for emergency response purposes, structural
                    stability, slope stability or occur naturally:

                         (i) Discharges associated with emergency firefighting operations.

                         (ii) Foundation and footing drains.

                         (iii) Water from crawl space or basement pumps.

                         (iv) Hillside dewatering.

                         (v) Naturally occurring groundwater seepage via a storm drain.

                         (vi) Non-anthropogenic flows from a naturally occurring stream via a
                              culvert or storm drain, as long as there are no contributions of
                              anthropogenic runoff.

                (3)   Discharges from utility vaults and underground structures to a segment of
                      the MS4 with a direct discharge to an ASBS are permitted if such
                      discharges are authorized by the General NPDES Permit for Discharges
                      from Utility Vaults and Underground Structures to Surface Water, NPDES
                      No. CAG 990002. Other short-duration, intermittent non-storm water
                      discharges related to utilities (e.g. groundwater dewatering, potable water
                      system flushing, hydrotest discharges) to a segment of the MS4 with a
                      direct discharge to an ASBS are permitted if such discharges are
                      authorized by an NPDES permit issued by the relevant Regional Water
                      Board. A Regional Water Board may nonetheless prohibit a specific
                      discharge from a utility vault or underground structure or other specific
                      utility-related discharge if it determines that the discharge is causing the
                      MS4 discharge to the ASBS to alter natural ocean water quality in the


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                     ASBS. Additional non-storm water discharges to a segment of the MS4
                     with a direct discharge to an ASBS are allowed only to the extent the
                     relevant Regional Water Board finds that the discharge does not alter
                     natural ocean water quality in the ASBS.

                     This provision does not supersede the authority of the MS4 to effectively
                     prohibit a non-storm water discharge that has been found to alter natural
                     ocean water quality in the ASBS.

                (4) Authorized non-storm water discharges shall not cause or contribute to a
                    violation of the water quality objectives in Chapter II of the Ocean Plan
                    nor alter natural ocean water quality in an ASBS.

   2. Compliance Plans for Inclusion in Storm Water Management Plans (SWMP) and Storm
      Water Pollution Prevention Plans (SWPPP)

      The Permittee shall specifically address the prohibition of non-storm water runoff and the
      requirement to maintain natural water quality for storm water discharges to an ASBS in
      an ASBS Compliance Plan to be submitted to the appropriate Regional Water Board.
      The ASBS Compliance Plan is subject to approval by the Executive Director of the State
      Water Board.

         a. The Compliance Plan shall include a map of surface drainage of storm water
            runoff, showing areas of sheet runoff, prioritize discharges, and describe any
            structural Best Management Practices (BMPs) already employed and/or BMPs to
            be employed in the future. Priority discharges are those that pose the greatest
            water quality threat and which are identified to require installation of structural
            BMPs. The map shall also show the storm water conveyances in relation to
            other features such as service areas, sewage conveyances and treatment
            facilities, landslides, areas prone to erosion and waste and hazardous material
            storage areas, if applicable. The SWMP or SWPPP shall also include a
            procedure for updating the map and plan when changes are made to the storm
            water conveyance facilities.

         b. The ASBS Compliance Plan shall describe the measures by which all non-
            authorized non-storm water runoff (e.g., dry weather flows) has been eliminated,
            how these measures will be maintained over time, and how these measures are
            monitored and documented.

         c.   The ASBS Compliance Plan shall require minimum inspection frequencies as
              follows:

              (1) The minimum inspection frequency for construction sites shall be weekly
                  during rainy season;

              (2) The minimum inspection frequency for industrial facilities shall be monthly
                  during the rainy season;

              (3) The minimum inspection frequency for commercial facilities (e.g., restaurants)
                  shall be twice during the rainy season;


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              (4) Storm water outfall drains equal to or greater than 18 inches (457 mm) in
                  diameter or width shall be inspected once prior to the beginning of the rainy
                  season and once during the rainy season and maintained to remove trash
                  and other anthropogenic debris.

      d. The ASBS Compliance Plan shall address storm water discharges (wet weather
         flows) and, in particular, describe how pollutant reductions in storm water runoff, that
         are necessary to comply with these special conditions, will be achieved through
         BMPs. Structural BMPs need not be installed if the Permittee can document to the
         satisfaction of the State Water Board Executive Director that such installation would
         pose a threat to health or safety. BMPs to control storm water runoff discharges (at
         the end-of-pipe) during a design storm shall be designed to achieve on average the
         following target levels:

           (1) Table B Instantaneous Maximum Water Quality Objectives in Chapter II of the
               Ocean Plan; or

           (2) A 90% reduction in pollutant loading during storm events, for the Permittee's total
               discharges. The baseline for the reduction is the effective date of the Exception.
               The baseline for these determinations is the effective date of the Exception, and
               the reductions must be achieved and documented within six (6) years of the
               effective date.

      e. The ASBS Compliance Plan shall address erosion control and the prevention of
         anthropogenic sedimentation in ASBS. The natural habitat conditions in the ASBS
         shall not be altered as a result of anthropogenic sedimentation.

      f.   The ASBS Compliance Plan shall describe the non-structural BMPs currently
           employed and planned in the future (including those for construction activities), and
           include an implementation schedule . The ASBS Compliance Plan shall include non-
           structural BMPs that address public education and outreach. Education and
           outreach efforts must adequately inform the public that direct discharges of pollutants
           from private property not entering an MS4 are prohibited. The ASBS Compliance
           Plan shall also describe the structural BMPs, including any low impact development
           (LID) measures, currently employed and planned for higher threat discharges and
           include an implementation schedule. To control storm water runoff discharges (at
           the end-of-pipe) during a design storm, permittees must first consider using LID
           practices to infiltrate, use, or evapotranspire storm water runoff on-site .

      g. The BMPs and implementation schedule shall be designed to ensure that natural
         water quality conditions in the receiving water are achieved and maintained by either
         reducing flows from impervious surfaces or reducing pollutant loading, or some
         combination thereof.

      h. If the results of the receiving water monitoring described in Section IV. B. below
         indicate that the storm water runoff is causing or contributing to an alteration of
         natural ocean water quality in the ASBS, the Permittee shall submit a report to the
         State Water Board and Regional Water Board within 30 days of receiving the results.




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           (1) The report shall identify the constituents in storm water runoff that alter natural
               ocean water quality and the sources of these constituents.

           (2) The report shall describe BMPs that are currently being implemented, BMPs that
               are identified in the ASBS Compliance Plan for future implementation, and any
               additional BMPs that may be added to the ASBS Compliance Plan to address the
               alteration of natural water quality. The report shall include a new or modified
               implementation schedule for the BMPs.

           (3) Within 30 days of the approval of the report by the State Water Board Executive
               Director, the Permittee shall revise its ASBS Compliance Plan to incorporate any
               new or modified BMPs that have been or will be implemented, the
               implementation schedule, and any additional monitoring required.

           (4) As long as the Permittee has complied with the procedures described above and
               is implementing the revised ASBS Compliance Plan, the Permittee does not have
               to repeat the same procedure for continuing or recurring exceedances of natural
               ocean water quality conditions due to the same constituent.

           (5) Compliance with this section does not excuse violations of any term, prohibition,
               or condition contained in the Special Protections.

3. Compliance Schedule

      a. On the effective date of the Exception, all non-authorized non-storm water
         discharges (e.g., dry weather flow) are effectively prohibited.

      b. Within 18 months from the effective date of the Exception, the Permittee shall submit
         a written ASBS Compliance Plan to the State Water Board Executive Director that
         describes its strategy to comply with these special conditions, including the
         requirement to maintain natural water quality in the affected ASBS. The ASBS
         Compliance Plan shall include a time schedule to implement appropriate non-
         structural and structural controls (implementation schedule) to comply with these
         special conditions.

      c.   Within 18 months of the effective date of the Exception, any non-structural controls
           that are necessary to comply with these special conditions shall be implemented.

      d. Within six (6) years of the effective date of the Exception, any structural controls
         identified in the ASBS Compliance Plan that are necessary to comply with these
         special conditions shall be operational.

      e. Within six (6) years of the effective date of the Exception, all Permittees must comply
         with the requirement that their discharges into the affected ASBS maintain natural
         ocean water quality. If the initial results of post-storm receiving water quality testing
         indicate levels higher than the 85th percentile threshold of reference water quality
         data and the pre-storm receiving water levels, then the Permittee must re-sample the
         receiving water, pre- and post-storm. If after re-sampling the post-storm levels are
         still higher than the 85th percentile threshold of reference water quality data, and the
         pre-storm receiving water levels, for any constituent, then natural ocean water quality
         is exceeded. See attached Flowchart Section C.


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       f.   The Executive Director of the State Water Board may only authorize additional time
            to comply with the special conditions d. and e., above if good cause exists to do so.
            Good cause means a physical impossibility or lack of funding.

       If a Permittee claims physical impossibility, it shall notify the Board in writing within thirty
       (30) days of the date that the Permittee first knew of the event or circumstance that
       caused or would cause it to fail to meet the deadline in d. ore. The notice shall describe
       the reason for the noncompliance or anticipated noncompliance and specifically refer to
       this Section of this Exception. It shall describe the anticipated length of time the delay in
       compliance may persist, the cause or causes of the delay as well as measures to
       minimize the impact of the delay on water quality, the measures taken or to be taken by
       the Permittee to prevent or minimize the delay, the schedule by which the measures will
       be implemented, and the anticipated date of compliance. The Permittee shall adopt all
       reasonable measures to avoid and minimize such delays and their impact on water
       quality.

       The Permittee may request an extension of time for compliance based on lack of
       funding. The request for an extension shall require:

        1. for Traditional Small MS4s, a demonstration of significant hardship to Permittee
            ratepayers, by showing the relationship of storm water fees to annual household
            income for residents within the Permittee's jurisdictional area, and the Permittee has
            made timely and complete applications for all available bond and grant funding, and
           either no bond or grant funding is available, or bond and/or grant funding is
            inadequate; or

       2. for Non-Traditional Small MS4s, a demonstration and documentation of a good faith
           effort to acquire funding through that agency's budgetary process.


II. ADDITIONAL REQUIREMENTS FOR PARKS AND RECREATION FACILITIES

In addition to the provisions in Section I (A) a Permittee with parks and recreation facilities shall
comply with the following:

A. The Permittee shall include a section in an ASBS Compliance Plan to address storm water
   runoff from parks and recreation facilities.

        1. The Section shall identify all pollutant sources, including sediment sources, which
           may result in waste entering storm water runoff. Pollutant sources include, but are
           not limited to, roadside rest areas and vistas, picnic areas, campgrounds, trash
           receptacles, maintenance facilities, park personnel housing, portable toilets, leach
           fields, fuel tanks, roads, piers, and boat launch facilities.

       2. The Section shall describe BMPs or Management Measures/Practices that will be
          implemented to control soil erosion (both temporary and permanent erosion controls)
          and reduce or eliminate pollutants in storm water runoff in order to achieve and
          maintain natural water quality conditions in the affected ASBS. The plan shall
          include BMPs or Management Measures/Practices to ensure that trails and culverts
          are maintained to prevent erosion and minimize waste discharges to ASBS.


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       3. The Section shall include BMPs or Management Measures/Practices to prevent the
          discharge of pesticides or other chemicals, including agricultural chemicals, in storm
          water runoff to the affected ASBS.

       4. The Section shall include BMPs or Management Measures/Practices that address
          public education and outreach. The goal of these BMPs or Management
          Measures/Practices is to ensure that the public is adequately informed that waste
          discharges to the affected ASBS are prohibited or limited by special conditions in in
          the Special Protections as laid out in this Attachment . The BMPs or Management
          Measures/Practices shall include signage at camping, picnicking, beach and
          roadside parking areas, and visitor centers, or other appropriate measures, which
          notify the public of any applicable requirements of the Special Protections as laid out
          in this Attachment and identify the ASBS boundaries.

       5. The Section shall include BMPs or Management Measures/Practices that address
          the prohibition against the discharge of trash to ASBS. The BMPs or Management
          Measures/Practices shall include measures to ensure that adequate trash
          receptacles are available for public use at visitor facilities, including parking areas,
          and that the receptacles are adequately maintained to prevent trash discharges into
          the ASBS. Appropriate measures include covering trash receptacles to prevent trash
          from being windblown and periodically emptying the receptacles to prevent
          overflows .

       6. The Section shall include BMPs or Management Measures/Practices to address
          runoff from parking areas and other developed features to ensure that the runoff
          does not alter natural water quality in the affected ASBS. BMPs or Management
          Measures/Practices shall include measures to reduce pollutant loading in runoff to
          the ASBS through installation of natural area buffers (LID), treatment, or other
          appropriate measures.

B. Maintenance and repair of park and recreation facilities must not result in waste discharges
   to the ASBS. The practice of road oiling must be minimized or eliminated, and must not
   result in waste discharges to the ASBS.


Ill. ADDITIONAL REQUIREMENTS - WATERFRONT AND MARINE OPERATIONS

In addition to the provisions in Section I (A), a Permittee with waterfront and marine operations
shall comply with the following:

A. For discharges related to waterfront and marine operations, the Permittee shall develop a
   Waterfront and Marine Operations Management Section (Waterfront Section) for its ASBS
   Compliance Plan. The Waterfront Section shall contain appropriate Best Management
   Practices (BMPs) to address pollutant discharges to the affected ASBS.

       1. The Waterfront Section shall contain appropriate BMPs for any waste discharges
          associated with the operation and maintenance of vessels, moorings, piers, launch
          ramps, and cleaning stations in order to ensure that beneficial uses are protected
          and natural water quality is maintained in the affected ASBS.



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       2. For discharges from marinas and recreational boating activities, the Waterfront
          Section shall include appropriate Management Measures, described in The Plan for
          California's Nonpoint Source Pollution Control Program, for marinas and recreational
          boating, or equivalent practices, to ensure that nonpoint source pollutant discharges
          do not alter natural water quality in the affected ASBS.

       3. The Waterfront Section shall include BMPs to address public education and outreach
          to ensure that the public is adequately informed that waste discharges to the affected
          ASBS are prohibited or limited by special conditions in the Special Protections as laid
          out in this Attachment. The BMPs shall include appropriate signage, or similar
          measures, to inform the public of the ASBS restrictions and to identify the ASBS
          boundaries.

       4. The Waterfront Section shall include BMPs to address the prohibition against trash
          discharges to ASBS. The BMPs shall include the provision of adequate trash
          receptacles for marine recreation areas, including parking areas, launch ramps, and
          docks. The plan shall also include appropriate BMPs to ensure that the receptacles
          are adequately maintained and secured in order to prevent trash discharges into the
          ASBS. Appropriate BMPs include covering the trash receptacles to prevent trash
          from being windblown, staking or securing the trash receptacles so they don't tip
          over, and periodically emptying the receptacles to prevent overflow.

       5. The Permittee shall submit the Waterfront Plan to the Executive Director of the State
          Water Board within six months of the effective date of these special conditions . The
          Waterfront Plan is subject to approval by the State Water Board Executive Director.
          The plan must be fully implemented within 18 months of the effective date of the
          Exception.

B. The discharge of chlorine, soaps, petroleum, other chemical contaminants, trash, fish offal,
   or human sewage to ASBS is prohibited. Sinks and fish cleaning stations are point source
   discharges of wastes and are prohibited from discharging into ASBS. Anthropogenic
   accumulations of discarded fouling organisms on the sea floor must be minimized.

C. Limited-term activities, such as the repair, renovation, or maintenance of waterfront facilities,
   including , but not limited to, piers, docks, moorings, and breakwaters, are authorized only in
   accordance with Chapter II1.E.2 of the Ocean Plan.

D. If the Permittee anticipates that it will fail to fully implement the approved Waterfront Plan
   within the 18 month deadline, the Permittee shall submit a technical report as soon as
   practicable to the State Water Board Executive Director. The technical report shall contain
   reasons for failing to meet the deadline and propose a revised schedule to fully implement
   the plan.

E. The State Water Board Executive Director may, for good cause, authorize additional time to
   comply with the Waterfront Plan. Good cause means a physical impossibility or lack of
   funding.

If a Permittee claims physical impossibility, it shall notify the Board in writing within thirty (30)
days of the date that the Permittee first knew of the event or circumstance that caused or would
cause it to fail to meet the deadline in Section II1.A.5. The notice shall describe the reason for


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the noncompliance or anticipated noncompliance and specifically refer to this Section of the
Special Protections as laid out in this Attachment. It shall describe the anticipated length of
time the delay in compliance may persist, the cause or causes of the delay as well as measures
to minimize the impact of the delay on water quality, the measures taken or to be taken by the
Permittee to prevent or minimize the delay, the schedule by which the measures will be
implemented, and the anticipated date of compliance. The Permittee shall adopt all reasonable
measures to avoid and minimize such delays and their impact on water quality. The Permittee
may request an extension of time for compliance based on lack of funding. The request for an
extension shall require:

       1. a demonstration of significant hardship by showing that the Permittee has made
          timely and complete applications for all available bond and grant funding, and either
          no bond or grant funding is available, or bond and/or grant funding is inadequate.

       2. for governmental agencies, a demonstration and documentation of a good faith effort
          to acquire funding through that agency's budgetary process, and a demonstration
          that funding was unavailable or inadequate.


IV. MONITORING REQUIREMENTS

Monitoring is mandatory for all Permittees to assure compliance with the Ocean Plan.
Monitoring requirements include both: (A) core discharge monitoring, and (B) ocean receiving
water monitoring . The State and Regional Water Boards must approve sampling site locations
and any adjustments to the monitoring programs. All ocean receiving water and reference area
monitoring must be comparable with the Water Boards' Surface Water Ambient Monitoring
Program (SWAMP).

Safety concerns: Sample locations and sampling periods must be determined considering
safety issues. Sampling may be postponed upon notification to the State and Regional Water
Boards if hazardous conditions prevail.

Analytical Chemistry Methods: All constituents must be analyzed using the lowest minimum
detection limits comparable to the Ocean Plan water quality objectives. For metal analysis, all
samples, including storm water effluent, reference samples, and ocean receiving water
samples, must be analyzed by the approved analytical method with the lowest minimum
detection limits (currently Inductively Coupled Plasma/Mass Spectrometry) described in the
Ocean Plan.

A. CORE DISCHARGE MONITORING PROGRAM

1. General sampling requirements for timing and storm size:

   Runoff must be collected during a storm event that is greater than 0.1 inch and generates
   runoff, and at least 72 hours from the previously measurable storm event. Runoff samples
   shall be collected when post-storm receiving water is sampled, and analyzed for the same
   constituents as receiving water and reference site samples (see section IV B) as described
   below.




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2.   Runoff flow measurements

     a.   For municipal/industrial storm water outfalls in existence as of December 31, 2007, 18
          inches (457mm) or greater in diameter/width (including multiple outfall pipes in
          combination having a width of 18 inches, runoff flows must be measured or calculated,
          using a method acceptable to and approved by the State and Regional Water Boards.

     b. This will be reported annually for each precipitation season to the State and Regional
        Water Boards.

3.   Runoff samples - storm events

     a.   For outfalls equal to or greater than 18 inches (0.46m) in diameter or width:

          (1) samples of storm water runoff shall be analyzed during the same storm as receiving
              water samples for oil and grease, total suspended solids, and, within the range of the
              southern sea otter indicator bacteria or some other measure of fecal contamination,
              and

          (2) samples of storm water runoff shall be analyzed for critical life stage chronic toxicity
              (one invertebrate or algal species) at least once during each storm season when
              receiving water is sampled in the ASBS

          (3) If a Permittee has no outfall greater than 36 inches, then storm water runoff from the
              Permittee's largest outfall shall be further analyzed during the same storm as
              receiving water samples for Ocean Plan Table B metals for protection of marine life,
              Ocean Plan polynuclear aromatic hydrocarbons (PAHs), current use pesticides
              (pyrethroids and OP pesticides), and nutrients (ammonia, nitrate and phosphates).

     b.   For outfalls equal to or greater than 36 inches (0.91 m) in diameter or width:

          (1) samples of storm water runoff shall be analyzed during the same storm as receiving
              water samples for oil and grease, total suspended solids, and, within the range of the
              southern sea otter indicator bacteria or some other measure of fecal contamination;
              and

          (2) samples of storm water runoff shall be further analyzed during the same storm as
              receiving water samples for Ocean Plan Table B metals for protection of marine life,
              Ocean Plan polynuclear aromatic hydrocarbons (PAHs), current use pesticides
              (pyrethroids and OP pesticides), and nutrients (ammonia, nitrate and phosphates)
              and

          (3) samples of storm water runoff shall be analyzed for critical stage chronic toxicity (one
              invertebrate or algal species) at least once during each storm season when receiving
              water is sampled in the ASBS.

     c.   For a Permittee not participating in a regional monitoring program [see below in Section
          IV (B)] in addition to (a.) and (b.) above, a minimum of the two largest outfalls or
          20 percent of the larger outfalls, whichever is greater, shall be sampled (flow weighted
          composite samples) at least three times annually during wet weather (storm event) and


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       analyzed for all Ocean Plan Table A constituents, Table B constituents for marine
       aquatic life protection (except for toxicity, only chronic toxicity for three species shall be
       required), DDT, PCBs, Ocean Plan PAHs, OP pesticides, pyrethroids, nitrates,
       phosphates, and Ocean Plan indicator bacteria. For parties discharging to ASBS in
       more than one Regional Water Board region, at a minimum, one (the largest) such
       discharge shall be sampled annually in each Region.

4. The Executive Director of the State Water Board may reduce or suspend core monitoring
   once the storm runoff is fully characterized. This determination may be made at any point
   after the discharge is fully characterized, but is best made after the monitoring results from
   the first permit cycle are assessed.

B. OCEAN RECEIVING WATER AND REFERENCE AREA MONITORING PROGRAM

In addition to performing the Core Discharge Monitoring Program in Section IV.A above, all
applicants having authorized discharges must perform ocean receiving water monitoring. In
order to fulfill the requirements for monitoring the physical, chemical, and biological
characteristics of the ocean receiving waters within their ASBS, Permittees may choose either
(1) an individual monitoring program, or (2) participation in a regional integrated monitoring
program.

1. Individual Monitoring Program: The requirements listed below are for those Permittees who
   elect to perform an individual monitoring program to fulfill the requirements for monitoring
   the physical, chemical, and biological characteristics of the ocean receiving waters within
   the affected ASBS. In addition to Core Discharge Monitoring, the following additional
   monitoring requirements shall be met:

   a. Three times annually, during wet weather (storm events), the receiving water at the point
      of discharge from the outfalls described in section (IV)(A)(3)(c) above shall be sampled
      and analyzed for Ocean Plan Table A constituents, Table B constituents for marine
      aquatic life, DDT, PCBs, Ocean Plan PAHs, OP pesticides, pyrethroids, nitrates,
      phosphates, salinity, chronic toxicity (three species), and Ocean Plan indicator bacteria.

       The sample location for the ocean receiving water shall be in the surf zone at the point of
       discharges; this must be at the same location where storm water runoff is sampled .
       Receiving water shall be sampled at approximately the same time prior to (pre-storm)
       and during (or immediately after) the same storm (post storm). Reference water quality
       shall also be sampled and analyzed for the same constituents pre-storm and post-storm,
       during the same storms when receiving water is sampled. Reference stations will be
       determined by the State Water Board's Division of Water Quality and the applicable
       Regional Water Board(s).

   b. Sediment sampling shall occur at least three times during every five (5) year period. The
      subtidal sediment (sand or finer, if present) at the discharge shall be sampled and
      analyzed for Ocean Plan Table B constituents for marine aquatic life, DDT, PCBs, PAHs,
      pyrethroids, and OP pesticides. For sediment toxicity testing, only an acute toxicity test
      using the amphipod Eohaustorius estuarius must be performed.




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     c.   A quantitative survey of intertidal benthic marine life shall be performed at the discharge
          and at a reference site. The survey shall be performed at least once every five (5) year
          period. The survey design is subject to approval by the Regional Water Board and the
          State Water Board's Division of Water Quality. The results of the survey shall be
          completed and submitted to the State Water Board and Regional Water Board at least
          six months prior to the end of the permit cycle.

     d. Once during each five (5) year period, a bioaccumulation study shall be conducted to
        determine the concentrations of metals and synthetic organic pollutants at representative
        discharge sites and at representative reference sites. The study design is subject to
        approval by the Regional Water Board and the State Water Board's Division of Water
        Quality. The bioaccumulation study may include California mussels (Myti/us
        californianus) and/or sand crabs (Emerita ana!oga or 8/epharipoda occidentalis). Based
        on the study results, the Regional Water Board and the State Water Board's Division of
        Water Quality, may adjust the study design in subsequent permits, or add or modify
        additional test organisms (such as shore crabs or fish), or modify the study design
        appropriate for the area and best available sensitive measures of contaminant exposure.

     e.   Marine Debris : Representative quantitative observations for trash by type and source
          shall be performed along the coast of the ASBS within the influence of the Permittee's
          outfalls. The design, including locations and frequency, of the marine debris
          observations is subject to approval by the Regional Water Board and State Water
          Board's Division of Water Quality.

     f.   The monitoring requirements of the Individual Monitoring Program in this section are
          minimum requirements. After a minimum of one (1) year of continuous water quality
          monitoring of the discharges and ocean receiving waters, the Executive Director of the
          State Water Board (may require additional monitoring, or adjust, reduce or suspend
          receiving water and reference station monitoring. This determination may be made at
          any point after the discharge and receiving water is fully characterized, but is best made
          after the monitoring results from the first permit cycle are assessed.

2.   Regional Integrated Monitoring Program: Permittees may elect to participate in a regional
     integrated monitoring program, in lieu of an individual monitoring program, to fulfill the
     requirements for monitoring the physical, chemical, and biological characteristics of the
     ocean receiving waters within their ASBS. This regional approach shall characterize natural
     water quality, pre- and post-storm, in ocean reference areas near the mouths of identified
     open space watersheds and the effects of the discharges on natural water quality (physical,
     chemical, and toxicity) in the ASBS receiving waters, and should include benthic marine
     aquatic life and bioaccumulation components. The design of the ASBS stratum of a regional
     integrated monitoring program may deviate from the otherwise prescribed individual
     monitoring approach (in Section IV. B.1) if approved by the State Water Board's Division of
     Water Quality and the Regional Water Boards.

     a. Ocean reference areas shall be located at the drainages of flowing watersheds with
        minimal development (in no instance more than 10% development), and shall not be
        located in CWA Section 303(d) listed waterbodies or have tributaries that are 303(d)
        listed. Reference areas shall be free of wastewater discharges and anthropogenic non-
        storm water runoff. A minimum of low threat storm runoff discharges (e.g. stream
        highway overpasses and campgrounds) may be allowed on a case-by-case basis.


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        Reference areas shall be located in the same region as the ASBS receiving water
        monitoring occurs. The reference areas for each Region are subject to approval by the
        participants in the regional monitoring program and the State Water Board's Division of
        Water Quality and the applicable Regional Water Board(s). A minimum of three ocean
        reference water samples must be collected from each station, each from a separate
        storm. A minimum of one reference location shall be sampled for each ASBS receiving
        water site sampled per responsible party. For parties discharging to ASBS in more than
        one Regional Water Board region, at a minimum, one reference station and one
        receiving water station shall be sampled in each region.

   b. ASBS ocean receiving water must be sampled in the surf zone at the location where the
      runoff makes contact with ocean water (i.e. at "point zero"). Ocean receiving water
      stations must be representative of worst-case discharge conditions (i.e. co-located at a
      large drain greater than 36 inches, or if drains greater than 36 inches are not present in
      the ASBS then the largest drain greater than18 inches.) Ocean receiving water stations
      are subject to approval by the participants in the regional monitoring program and the
      State Water Board's Division of Water Quality and the applicable Regional Water
      Board(s). A minimum of three ocean receiving water samples must be collected during
      each storm season from each station, each from a separate storm. A minimum of one
      receiving water location shall be sampled in each ASBS per responsible party in that
      ASBS. For parties discharging to ASBS in more than one Regional Water Board region,
      at a minimum, one reference station and one receiving water station shall be sampled in
      each region.

   c.   Reference and receiving water sampling shall commence during the first full storm
        season following the adoption of these special conditions, and post-storm samples shall
        be collected when annual storm water runoff is sampled. Sampling shall occur in a
        minimum of two storm seasons. For those ASBS Permittees that have already
        participated in the Southern California Bight 2008 ASBS regional monitoring effort,
        sampling may be limited to only one storm season.

   d. Receiving water and reference samples shall be analyzed for the same constituents as
      storm water runoff samples. At a minimum, constituents to be sampled and analyzed in
      reference and discharge receiving waters must include oil and grease, total suspended
      solids, Ocean Plan Table B metals for protection of marine life, Ocean Plan PAHs,
      pyrethroids, OP pesticides, ammonia, nitrate, phosphates, and critical life stage chronic
      toxicity for three species. In addition, within the range of the southern sea otter, indicator
      bacteria or some other measure of fecal contamination shall be analyzed.

3. Waterfront and Marine Operations: In addition to the above requirements for ocean
   receiving water monitoring, additional monitoring must be performed for marinas and boat
   launch and pier facilities:

   a.   For all marina or mooring field operators, in mooring fields with 10 or more occupied
        moorings, the ocean receiving water must be sampled for Ocean Plan indicator bacteria,
        residual chlorine, copper, zinc, grease and oil , methylene blue active substances
        (MBAS), and ammonia nitrogen.




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           (1) For mooring field operators opting for an individual monitoring program (Section
               IV.B.1 above), this sampling must occur weekly (on the weekend) from May
               through October.

           (2) For mooring field operators opting to participate in a regional integrated
               monitoring program (Section IV. B.2 above), this sampling must occur from May
               through October on a high weekend in each month. The Water Boards may
               allow a reduction in the frequency of sampling, through the regional monitoring
               program, after the first year of monitoring.

   b.   For all mooring field operators, the subtidal sediment (sand or finer, if present) within the
        mooring fields and below piers shall be sampled and analyzed for Ocean Plan Table B
        metals (for marine aquatic life beneficial use), acute toxicity, PAHs, and tributyltin. For
        sediment toxicity testing, only an acute toxicity test using the amphipod Eohaustorius
        estuarius must be performed. This sampling shall occur at least three times during a five
        (5) year period. For mooring field operators opting to participate in a regional integrated
        monitoring program, the Water Boards may allow a reduction in the frequency of
        sampling after the first sampling effort's results are assessed.




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   C. ASBS Flow Chart
                                       Figure 2
                                ASBS Special Protections
              Flowchart to Determine Compliance with Natural Water Quality

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          .,,. When an exce~ance of natural water quality occurs, the Department must comply with section
          I.A.2.h of the Special Protections as well as the requirements of this Order. Note, when sampling data
           is avail•ble, ond--0!-pipe effiuenc concentrations will be considered by the Water Boards in making this
           determination.




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D. ASBS Monitoring Constituents


                                       TABLE A
                              Monitoring Constituent List
                  (excerpted from California Ocean Plan dated 2009)
                   Constituent                             Units
                   Grease and Oil                           mg/L
                   Suspended Solids                         Mg/L
                   Settleable Solids                        mUL
                   Turbidity                                NTU
                   PH




                                        TABLE B
                              Monitoring Constituent List
                  (excerpted from California Ocean Plan dated 2009)
                   Constituent                             Units
                   Arsenic                                  ig/L
                   Cadmium                                 ig/L
                   Chromium                                ig/L
                   Copper                                   ig/L
                   Lead                                     ig/L
                   Me~u~                                   i~L
                   Nickel                            ig/L
                   Selenium                                ig/L
                   Silver                                   ig/L
                   Zinc                                    ig/L
                   Cyanide                                 ig/L
                   Total Chlorine Residual                 ig/L
                   Ammonia (as N)                          ig/L
                   Acute Toxicity                    TUa
                   Chronic Toxicity                        TUc
                   Phenolic Compounds
                          (non-chlorinated)                ig/L
                   Chlorinated Phenolics              ig/L
                   Endosulfan                              ig/L
                   Endrin                            ig/L
                   HCH                                      µg/L




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                               Phase II Small MS4 Entities Authorized to Discharge to
                                  Areas of Special Biological Significance (ASBS)


          Regional
                                     Applicant                                   ASBS
           Board
                                  City of Trinidad                           Trinidad Head
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 re,
                            Humboldt Bay Harbor District                       King Range
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      ...                Department of Parks and Recreation                  Gerstle Cove
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..c:                     Department of Parks and Recreation                   King Range
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 0                       Department of Parks and Recreation                  Trinidad Head
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                         Department of Parks and Recreation         Redwoods State and National Park

                                  County of Marin                             Duxbury Reef
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          ...                     Air Force Base)
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          -                    National Park Service                 Point Reyes National Seashore


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                         Department of Parks and Recreation
                                                                               Carmel Bay

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 Cl)                     Department of Parks and Recreation                Julia Pfeiffer Burns

                         Department of Parks and Recreation                    Point Lobos

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                       Community-Based Social Marketing (CBSM)
                         Education and Outreach Requirements


   A. Public Education and Outreach Program

      A.1 Compliance Participation Options

          Within the first year of the effective date of the permit, all Permittees shall comply
          with the requirements in this Section by participating in one or more of the following:

          (i) Contributing to a countywide storm water program, as determined appropriate by the
                 Permittee members, so that the countywide storm water program conducts
                 education and outreach on behalf of its members; or
          (ii) Contributing to a regional education and outreach collaborative effort (a regional
                 outreach and education collaborative effort occurs when all or a majority of the
                 Permittees collaborate to conduct regional outreach and education. Regional
                 education and outreach collaboration includes Permittees defining a uniform
                 and consistent message, deciding how best to communicate the message, and
                 how to facilitate behavioral changes. Then collaboratively apply what is
                 learned through local jurisdiction groups, pooling resources and skills.); or
          (iii) Fulfilling education and outreach requirements within their jurisdictional
                 boundaries on their own; or
          (iv) A combination of the previous options, so that all requirements are fulfilled .

          Reporting - By the first year online Annual Report, the Permittee shall identify
          which compliance participation option it will use to comply with the public education
          and outreach requirements in this Section. For each public education and outreach
          requirement in this Section that the Permittee will comply with through contribution
          to a countywide storm water program or regional education and outreach
          collaborative effort, the Permittee shall include in the first year online Annual Report
          documentation, such as a written agreement, letter or similar document, which
          confirms the collaboration with other MS4s.

       A.2. Public Education and Outreach

           A.2.a. Public Education and Outreach

           (i)    Task Description - Within the second year of the effective date of the
                  permit, the Permittee shall develop and implement a comprehensive storm
                  water public education and outreach program. The public education and
                  outreach program shall be designed to reduce pollutant discharges in storm
                  water runoff and non-storm water discharges to the MS4 through behavior
                  changes in target communities . The Public Education and Outreach
                  Program shall (1) measurably increase the knowledge of targeted
                  communities regarding the municipal storm drain system, impacts of urban
                  runoff and non-storm water discharges on receiving waters, and potential
                  BMP solutions for the target audiences and (2) measurably change the
                  behavior of target audiences, thereby reducing pollutant releases to the
                  MS4 and the environment.


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                 (ii)       Implementation Level -The Permittee shall, at a minimum:

                            (a) Develop and implement a public education strategy that establishes
                                education tasks based on water quality problems, target audiences, and
                                anticipated task effectiveness. The strategy must include identification
                                of who is responsible for implementing specific tasks, a schedule for
                                task implementation, and a budget for implementing the tasks. The
                                strategy must demonstrate how specific high priority storm water quality
                                issues in the community or local pollutants of concern are addressed.
                                The Permittee shall use CBSM 1strategies or equivalent.

                            (b) Implement surveys at least twice during the five year permit term to
                                gauge the level of awareness and behavior change in target audiences
                                and effectiveness of education tasks.

                            (c) Use of CBSM strategies or equivalent. The Public Education strategy
                                shall at a minimum include the following Permittee actions:

                                 (1) Research on barriers to desired behaviors and benefits of desired
                                     behaviors (ex. Literature review, observation, focus groups).
                                 (2) Elicit commitment to implement desired behavior from target
                                     audience.
                                 (3) Provide prompts reminding target audience of desired behavior.
                                 (4) Use the concept of social norms/modeling of desired behavior.
                                 (5) Use education messages that are specific, easy to remember, from
                                     a credible source, and appropriate for the target audience.
                                 (6) Create incentives for the desired behavior.
                                 (7) Remove barriers to the desired behavior.

                            (d) Development and conveyance of a specific storm water message that
                                focuses on the following:
                                (1) Local pollutants of concern
                                (2) Target audience
                                (3) Behavior of concern
                                (4) Regional water quality issues

                            (e) Development and disseminate appropriate educational materials to
                                 target audiences and translate into applicable languages when
                                 appropriate (e.g. the materials can utilize various media such as printed
                                 materials, billboard and mass transit advertisements, signage at select
                                 locations, stenciling at storm drain inlets, radio advertisements,
                                 television advertisements, and websites);
                            (f) Utilization of public input (e.g., the opportunity for public comment, or
                                 public meetings) in the development of the program;


1                       .                       .                ..             . .                 .             . .        .
  CBSM: A systematic way to change the behavior of communtt1es to reduce their impact on the environment. Realizing that simply
providing information is usually not sufficient to initiate behavior change, CBSM uses tools and findings from social psychology to
discover the perceived barriers to behavior change and ways of overcoming these barriers.




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                     (g) Distribution of the educational materials, using whichever methods and
                          procedures determined appropriate during development of the public
                          education strategy, in such a way that is designed to convey the
                          program's message to 20% of the target audience each year;
                     (h) Coordination with outreach programs for the Water Efficient Landscape
                          Ordinance to explain the benefits of storm water-friendly landscaping;
                     (i) Technical and financial assistance and implementation guidance related
                          to storm water-friendly landscaping;
                     U) Development and conveyance of messages specific to reducing illicit
                          discharges with infom,ation about how the public can report incidents to
                          the appropriate authorities;
                     (k) Development and conveyance of messages specific to proper
                          application of pesticides, herbicides, and fertilizers;
                     (I) Storm water education for school-age children. The Permittee may use
                          California's Education and Environment Initiative Curriculum or
                          equivalent.
                     (m) Reducing discharges from charity car washes, mobile cleaning and
                          pressure washing operations, and landscape irrigation.

           (iii)   Reporting - By the second year online Annual Report and annually
                   thereafter, report on the public education strategy and general program
                   development and progress. By the fifth year online Annual Report,
                   summarize changes in public awareness and behavior resulting from the
                   implementation of the program and any modifications to the public outreach
                   and education program. Report on the public education and CBSM
                   strategies such as pilot programs, survey results, research on barriers to
                   desired behaviors and benefits of desired behaviors, commitments from
                   target audience to implement desired behavior, prompts, implementation of
                   the social norms/modeling, education messages, incentives for desired
                   behaviors, methods for removing barriers to behavior change, development
                   of education materials, methods for educational material distribution, public
                   input, Water Efficient Landscape Ordinance, technical and financial
                   assistance for storm water friendly landscaping, reporting of illicit discharges,
                   proper application of pesticides, herbicides, and fertilizers, elementary school
                   education, reduction of discharges from charity car washes, mobile cleaning
                   and pressure washing operations, and landscape irrigation efforts. Annually
                   report number of trainings, describe the technical and financial program and
                   implementation, and the study and results to date. For each whole five years
                   of the permit life, submit the online Annual Report summarizing the changes
                   in public awareness and behavior.

           A.2.b. Construction Education and Outreach Program

           (i)     Task Description - Within the second year of the effective date of the permit,
                   the Permittee shall develop and implement a construction outreach and
                   education program for construction sites smaller than one acre. The
                   construction outreach and education program shall be designed to reduce
                   pollutant discharges in storm water runoff and non-storm water discharges to
                   the MS4 through behavior changes in target communities. The multi-media
                   program shall (1) measurably increases the knowledge of the construction


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                     community regarding the municipal storm drain system, impacts of urban
                     runoff and non-storm water discharges on receiving waters, and potential
                     BMP solutions for the target audiences and (2) measurably changes the
                     behavior of the construction community, thereby reducing pollutant releases
                     to the MS4 and the environment.

           (ii)      Implementation Level -The program shall include, at a minimum:
                   (a) Development of a watershed-based inventory of the high priority residential
                       and commercial construction sites within the Permittee's jurisdiction.

                   (b) Development and implementation of a construction outreach and education
                       strategy that establishes measurable goals and prioritizes education tasks
                       based on water quality problems, target audiences, and anticipated task
                       effectiveness. The strategy must include identification of who is
                       responsible for implementing specific tasks and attaining measurable goals,
                       a schedule for task implementation, and a budget for implementing the
                       tasks and meeting the measurable goals. The strategy must include
                       measurable goals designed to demonstrate how specific high priority storm
                       water quality issues in the community or local pollutants of concern are
                       addressed. Establish who is responsible for specific tasks and goals and a
                       budget for meeting the tasks and goals.

                   (c)   Implementation of CBSM to address the MS4's highest priority water
                         quality problems. For each high priority water quality problem,
                         implementation of CBSM shall first be conducted on a pilot project level.
                         CBSM techniques found to be effective at the pilot project level shall be
                         implemented jurisdiction-wide by permit year four. Pilot project and
                         jurisdiction level CBSM shall include the following Permittee actions:
                         (1) Research on barriers to desired behaviors and benefits of desired
                              behaviors (ex. Literature review, observation, focus groups).
                         (2) Elicit commitment to implement desired behavior from construction
                              community.
                         (3) Provide prompts reminding construction community of desired
                              behavior.
                         (4) Use the concept of social norms/modeling of desired behavior.
                         (5) Use education messages that are specific, easy to remember, from a
                              credible source, and appropriate for the target audience.
                         (6) Create incentives for the desired behavior.
                         (7) Remove barriers to the desired behavior.

           (iii)         Reporting - By the second year online Annual Report and annually
                         thereafter, report program progress and mechanisms used for outreach and
                         education including measureable increases in the knowledge of the
                         construction community and measurable changes in the construction
                         community's behavior. This includes a watershed-based inventory of high
                         priority residential and commercial construction sites, outreach and
                         education strategy and implementation, implementation of CBSM, pilot
                         project, research on barriers to desired behaviors and benefits of desired
                         behaviors, commitments from target audience to implement desired
                         behavior, prompts, implementation of the social norms/modeling, education


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                                                                                               Pls_000465
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                  messages, incentives for desired behaviors, methods for removing barriers
                  to behavior change.

      A.3. STAFF AND SITE OPERATOR TRAINING AND EDUCATION

           A.3.a. Illicit Discharge Detection and Elimination Training

           (i)    Task Description - Within the third year of the effective date of the permit,
                  the Permittee shall develop and implement a training program for all
                  Permittee staff who, as part of their normal job responsibilities, may be
                  notified of, come into contact with, or otherwise observe an illicit discharge
                  or illegal connection to the storm drain system.

           (ii)   Implementation Level - The training program shall include at a minimum:
                    (a) Identification of an illicit discharge or illegal connection.
                    (b) Proper procedures for reporting and responding to the illicit discharge
                         or illegal connection.
                    (c) Follow-up training shall be provided as needed to address changes in
                         procedures, techniques, or staffing .
                    (d) The Permittee shall annually perform an assessment of their trained
                         staff's knowledge of illicit discharge response and shall provide
                         refresher training as needed.
                    (e) New staff that, as part of their normal job responsibilities may be
                         notified of, come into contact with, or otherwise observe an illicit
                         discharge or illegal connection shall be trained no later than six
                         months after the start of employment.
                     (f) Contact information, including the procedure for reporting an illicit
                         discharge, shall be included in each of the Permittee's fleet vehicles
                         that are used by field staff.
                    (g) The Permittee shall conduct focused education in identified illicit
                         discharge flow areas based on identified illicit discharge(s).

          (iii)   Reporting - The Permittee shall document and maintain records of the
                  training provided and the staff trained annually in the online Annual Report.

           A.3.b. Construction Outreach and Education

                  1. Permittee Staff Training

          (i)     Task Description - Within the second year of the effective date of the
                  permit, the Permittee shall ensure that all staff implementing the
                  construction storm water program are adequately trained.

          (ii)    Implementation Level - The Permittee may conduct in-house training or
                  contract with consultants. Training shall be provided to the following staff
                  positions of the MS4:

                   (a)   Plan Reviewers and Permitting Staff - Ensure staff and consultants
                         are qualified individuals, knowledgeable in the technical review of
                         local erosion and sediment control plans, and are certified pursuant


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                                                                                           Pls_000466
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                         to a State Water Board sponsored program as a Qualified SWPPP
                         Developer (QSD), or a designated person on staff possesses the
                         QSD credential.
                   (b)   Erosion Sediment Control/Storm Water Inspectors - The Permittee
                         shall ensure inspectors are qualified individuals, knowledgeable in
                         inspection procedures, and are certified pursuant to a State Water
                         Board sponsored program as either (1) a Qualified SWPPP
                         Developer (QSD) (2) a Qualified SWPPP Practitioner (QSP) or (3) a
                         designated person on staff possesses each credential (QSD to
                         supervise plan review, QSP to supervise inspection operations).
                   (c)   Third-Party Plan Reviewers, Permitting Staff, and Inspectors - If the
                         Permittee utilizes outside parties to conduct inspections and/or
                         review plans, the Permittee shall ensure these staff are trained.


          (iii)   Reporting - By the second year of the permit term and annually thereafter,
                  submit the following information:
                   (a) Training topics covered.
                   (b) Dates of training.
                   (c) Number and percentage of Permittee's staff, as identified in Sections
                       a-c above, attending each training.
                   (d) Results of any surveys conducted to demonstrate the awareness and
                       potential behavioral changes in the attendees.

                  2. Construction Site Operator Education

          (i)     Task Description - Within the third year of the effective date of the permit,
                  the Permittee shall develop and distribute educational materials to
                  construction site operators.

          (ii)    Implementation Level - The Permittee shall do the following:
                    (a) Each year, provide information on training opportunities for
                        construction operators on BMP selection, installation, implementation,
                        and maintenance as well as overall program compliance.
                    (b) Develop or utilize existing outreach tools (i.e. brochures, posters, etc.)
                        aimed at educating construction operators on appropriate selection,
                        installation, implementation, and maintenance of storm water BMPs,
                        as well as overall program compliance.
                    (c) Distribute appropriate outreach materials to all construction operators
                        who will be disturbing land within the MS4 boundary. The Permittee's
                        contact information and website shall be included in these materials.
                    (d) Update the existing storm water website to include information on
                        appropriate selection, installation, implementation, and maintenance
                        of BMPs.

          (iii)   Reporting - By the third year online Annual Report and annually thereafter,
                  include the following information:




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                    (a) Training topics covered;
                    (b) Dates of training;
                    (c) Number and percentage of Permittee's operators, inspectors, and
                        number of Contractors attending each training;
                    (d) Results of any surveys conducted to demonstrate the awareness and
                        potential behavioral changes in the attendees.

          A.3.c. Pollution Prevention and Good Housekeeping Staff Training

          The Permittee shall train employees on how to incorporate pollution
          prevention/good housekeeping techniques into Permittee operations.

          (i)     Task Description - Within the second year of the effective date of the
                  permit, the Permittee shall develop a bi-annual employee training program
                  for appropriate employees involved in implementing pollution prevention
                  and good housekeeping practices in the Pollution Prevention/Good
                  Housekeeping for Permittee Operations sections of this General Permit.
                  The Permittee shall determine the need for interim training during alternate
                  years when training is not conducted, through an evaluation of employee
                  Pollution Prevention/Good Housekeeping knowledge. All new hires whose
                  jobs include implementation of pollution prevention and good housekeeping
                  practices must receive this training within the first year of their hire date.

          (ii)    Implementation Level - The training program shall include the following:
                    (a) Bi-annual training for all employees implementing this program
                        element. This bi-annual training shall include a general storm water
                        education component, any new technologies, operations, or
                        responsibilities that arise during the year, and the permit requirements
                        that apply to the staff being trained . Employees shall receive clear
                        guidance on appropriate storm water BMPs to use at municipal
                        facilities and during typical O&M activities.
                    (b) A bi-annual assessment, occurring on alternate years between
                        training, of trained staff's knowledge of pollution prevention and
                        good housekeeping and shall revise the training as needed.
                    (c) A requirement that any contractors hired by the Permittee to
                        perform O&M activities shall be contractually required to comply
                        with all of the storm water BMPs, good housekeeping practices,
                        and standard operating procedures described above.
                    (d) The Permittee shall provide oversight of contractor activities to
                        ensure that contractors are using appropriate BMPs, good
                        housekeeping practices and following standard operating
                        procedures.

          (iii)   Reporting - By the second year online Annual Report and annually
                  thereafter, summarize oversight procedures and identify and track all
                  personnel requiring training and assessment and records.




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                                   Standard Provisions


1.     General Authority

       Various storm water program components (e.g. IDDE) require enforceable controls
       on third party activities to ensure successful implementation of the program. Some
       non-traditional operators, however, may not have the necessary legal or regulatory
       authority to adopt enforceable controls. As with local governments that lack such
       authority, NTMS4s shall utilize the authority they do possess and seek cooperative
       agreements with local municipalities to implement enforceable controls.

2.     Duty to Comply

       The Permittee shall comply with all conditions of this Permit. Any Permit
       noncompliance constitutes a violation of the CWA and the Porter-Cologne Water
       Quality Control Act, which may be grounds for enforcement action or denial of
       General Permit coverage. [40 CFR 122.41(a)]

       The Permittee shall comply with effluent standards or prohibitions established under
       Section 307(a) of the CWA for toxic pollutants within the time provided in the
       regulations that establish these standards or prohibitions, even if this Permit has not
       yet been modified to incorporate the requirement.

       In the event that the Permittee is removed from coverage under the General Permit,
       the Permittee will be required to seek coverage under an individual or alternative
       general permit.

3.     General Permit Actions

       This General Permit may be modified, revoked and reissued, or terminated for
       cause. The filing of a request by the Permittee for a General Permit modification,
       revocation and reissuance, or termination, or a notification of planned changes or
       anticipated noncompliance does not nullify any General Permit condition.

       If any toxic effluent standard or prohibition (including any schedule of compliance
       specified in such effluent standard or prohibition) is promulgated under §307(a) of
       CWA for a toxic pollutant which is present in the discharge and that standard or
       prohibition is more stringent than any limitation on the pollutant in this General
       Permit, this General Permit shall be modified or revoked and reissued to conform to
       the toxic effluent standard or prohibition and Permittee will be so notified.

4.     Enforcement

       a.     The enforcement provisions contained in this section shall not act as a
              limitation on the statutory or regulatory authority of the State and Regional
              Water Board.




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       b.     Any violation of the permit constitutes violation of the California Water Code
              and regulations adopted hereunder and the provisions of the Clean Water
              Act, and is the basis for enforcement, permit termination, permit revocation
              and reissuance, denial of an application for permit reissuance; or a
              combination thereof.

       c.     The State Water Board has authority to regulate discharges from a MS4 on a
              system-wide or jurisdiction-wide basis. [CWA Section 402(p) & 40 CFR
              122.26(a)(v)]

       d.     The State and Regional Boards may impose administrative civil liability, may
              refer a discharger to the State Attorney General to seek civil monetary
              penalties, may seek injunctive relief or take other appropriate enforcement
              action as provided in the California Water Code or federal law for violation of
              Board orders.

       e.     It shall not be a defense for the Permittee in an enforcement action that it
              would have been necessary to halt or reduce the permitted activity in order to
              maintain compliance with the conditions of this order and permit.

       f.     Significant penalties may be imposed for violation of this General Permit,
              pursuant to CWC section 13385 and other State and federal statutes. Court-
              imposed liability may exceed $25,000 per day, and Regional Water Board's
              may impose administrative fines exceeding $10,000 per day.
              [40 CFR 122.41(a)(2)&(3)]

       g.     The Clean Water Act provides that any person who knowingly makes any
              false statement, representation, or certification in any record or other
              document submitted or required to be maintained under this permit including
              monitoring reports or reports of compliance or noncompliance shall, upon
              conviction, be punished by a fine of not more than $10,000 per violation , or
              by imprisonment for not more than six months per violation, or by both .
              [40 CFR 122.41 (k)(2)]

       h.     The Clean Water Act provides that any person who falsifies, tampers with, or
              knowingly renders inaccurate any monitoring device or method required to be
              maintained under this permit shall, upon conviction, be punished by a fine of
              not more than $10,000, or by imprisonment for not more than two years, or
              both. Higher penalties may be imposed for repeat offenders.
              [40 CFR 122.410)(5)]

5.     Noncompliance Reporting

       Permittees who cannot certify compliance and/or who have had other instances of
       noncompliance shall notify the appropriate Regional Water Board within 30 days.
       Instances of noncompliance resulting in emergencies (i.e., that endanger human
       health or the environment) shall be reported orally to the Regional Water Board
       within 24 hours from the time the discharger becomes aware of the circumstance
       and in writing to the Regional Water Board within five days of the occurrence. The
       notification shall identify the noncompliance event and an initial assessment of any


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        impact caused by the event, describe the actions necessary to achieve compliance,
        and include a time schedule indicating when compliance will be achieved. The time
        schedule and corrective measures are subject to modification by the Regional Water
        Board Executive Officer.

6.      Duty to Mitigate

        The Permittee shall take all responsible steps to minimize or prevent any discharge
        in violation of this General Permit that has a reasonable likelihood of adversely
        affecting human health or the environment. [40 CFR 122.41 (d)]

7.      Proper Operation and Maintenance

        The Permittee shall at all times properly operate and maintain any facilities and
        systems of treatment and control (and related appurtenances) which are installed or
        used by the Permittee to achieve compliance with the conditions of this General
        Permit and with the requirements of the storm water program. Proper operation and
        maintenance also includes adequate laboratory controls and appropriate quality
        assurance procedures. Proper operation and maintenance may require the
        operation of backup or auxiliary facilities or similar systems installed by the Permittee
        when necessary to achieve compliance with the conditions of this General Permit.
        [40 CFR 122.41(e)]

8.      Property Rights

        This General Permit does not convey any property rights of any sort or any exclusive
        privileges , nor does it authorize any injury to private property or any invasion of
        personal rights, nor does it authorize any infringement of federal, State, or local laws
        or regulations.[40 CFR 122.41(g)]

9.      Duty to Provide Information

        The Permittee shall furnish Regional Water Boards or U.S. EPA, during normal
        business hours, any requested information to determine compliance with this
        General Permit. The Permittee shall also furnish, upon request, copies of records
        required to be kept by this General Permit. [40 CFR 122.41(h)]

10.     Inspection and Entry

        Upon the presentation of credentials and other documents as may be required by
        law, the Permittee shall allow the State and Regional Water Boards, U.S. EPA, or
        municipal storm water management agency to enter upon the Permittee premises
        where a regulated facility or activity is located or conducted or where records are
        required to be kept under the conditions of this General Permit to [40 CFR 122.41 (i)]:

        a.     Have access to and copy at reasonable times any records that are required
               to be kept under the conditions of this Permit;




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        b.      Inspect at reasonable times any facilities or equipment (including monitoring
                and control equipment) that are related to or may impact any storm water or
                non-storm water discharge; and

        c.      Conduct monitoring activities at reasonable times to ensure Permit
                compliance.

        d.      Photograph or videotape outdoor areas of the facility to document compliance
                or non-compliance with this Permit.

11.     Signatory Requirements

        All NOls, certifications, reports, or other information prepared in accordance with this
        General Permit that are submitted to State or Regional Water Boards shall be signed
        by either a principal executive officer, ranking elected official , or duly authorized
        representative. The principal executive officer of a Federal agency includes the chief
        executive officer of the agency or the senior executive officer having responsibility for
        the overall operations of a principal geographic unit of the agency (e.g., Regional
        Administrator of U.S. EPA) . For the military: any military officer or Department of
        Defense civilian, acting in an equivalent capacity to a military officer, who has been
        designated.

12.     Certification

        Any person signing documents under this General Permit shall make the following
        certification:

        I certify under penalty of law that this document and all attachments were
        prepared under my direction or supervision in accordance with a system
        designed to assure that qualified personnel properly gather and evaluate the
        information submitted. Based on my inquiry of the person or persons who
        manage the system or those persons directly responsible for gathering the
        information, to the best of my knowledge and belief, the information submitted
        is true, accurate, and complete.

        I am aware that there are significant penalties for submitting false information,
        including the possibility of fine and imprisonment for knowing violations.

13.     Anticipated Noncompliance

        The Permittee will give advance notice to the Regional Water Board of any planned
        changes in the regulated Small MS4 activity that may result in noncompliance with
        General Permit requirements.

14.     Penalties for Falsification of Reports

        Section 309(c)(4) of CWA provides that any person who knowingly makes any false
        material statement, representation, or certification in any record or other document
        submitted or required to be maintained under this General Permit, including reports
        of compliance or noncompliance, shall upon conviction, be punished by a fine of not
        more than $10,000 or by imprisonment for not more than two years or by both.


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15.     Penalties for Violations of Permit Conditions

        a.      Part 309 of CWA provides significant penalties for any person who violates a
                permit condition implementing Parts 301, 302, 306, 307, 308, 318, or 405 of
                CWA or any permit condition or limitation implementing any such section in a
                permit issued under Part 402. Any person who violates any permit condition
                of this General Permit is subject to a civil penalty not to exceed $27,500 per
                calendar day of such violation, as well as any other appropriate sanction
                provided by Part 309 of CWA.

        b.      the California Water Code also provides for administrative, civil, and criminal
                penalties, which in some cases are greater than those under CWA.

16.     Oil and Hazardous Substance Liability

        Nothing in this General Permit shall be construed to preclude the institution of any
        legal action against the Permittee or relieve the Permittee from any responsibilities,
        liabilities, or penalties to which the Permittee is or may be subject to under Part 311
        of CWA.

17.     Severability

        The provisions of this General Permit are severable; and, if any provision of this
        General Permit or the application of any provision of this General Permit to any
        circumstance is held invalid, the application of such provision to other circumstances
        and the remainder of this General Permit shall not be affected thereby.

18.     Reopener Clause

        This General Permit may be modified, revoked and reissued, or terminated for cause
        due to promulgation of amended regulations, or otherwise in accordance with
        40 CFR sections 122.62, 122.63, 122.64, and 124.5.

19.     Availability

        A copy of this General Permit and Annual Reports shall be made available for public
        review, program evaluation (audit) and inspection.

20.     Transfers

        This General Permit is not transferable. A Permittee shall submit written notification to
        the appropriate Regional Water Board to terminate coverage of this General Permit.

21.     Continuation of Expired Permit

        This General Permit expires five years from the date of adoption. This General
        Permit continues in force and in effect until a new General Permit is issued or the
        State Water Board rescinds this General Permit. Only those Small MS4s authorized
        to discharge under the expired General Permit are covered by the continued General
        Permit.


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                                             ATTACHMENT G - Region Specific Requirements
                                 Regional Water Board Approved TMDLs where urban runoff is listed as a source




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             TMDL                                     Impaired
                                       Entity                                            Deliverables/Actions Required/Waste Load Allocations
  Effective Date/BPA/Res. No.                        water body


                                                           Region 1: North Coast Regional Water Board



   Laguna de Santa Rosa             City of Cotati
 Ammonia & Dissolved Oxygen                                         Purpose of Provisions
                                                                    The purpose of these provisions is to implement the requirements of the Waste Reduction Strategy
         Effective Date:              City of                       for the Laguna de Santa Rosa which includes TMDLs for nitrogen and ammonia to address low
          May 4, 1995                 Rohnert        Laguna de      dissolved oxygen and high ammonia impairments.
                                       Park          Santa Rosa
           BPA: none                                                Requirements for Implementing the Waste Reduction Strategy for the Laguna de Santa Rosa
                                       City of                      Implement a storm water runoff program that is aimed at nutrient load reduction and pollution control
        Resolution No.:              Sebastopol                     through the execution of the provisions of this Phase II Small MS4 General Permit.
            none
                                      Town of
                                      Windsor
        Shasta River                                                Purpose of Provisions
Temperature & Dissolved Oxygen                                      The purpose of these provisions is to implement the requirements of the Action Plan for the Shasta
                                                                    River Watershed Temperature and Dissolved Oxygen TMDLs.
        Effective Date:
       January 26, 2007                                             Requirements for Implementing the Action Plan for the Shasta River Watershed Temperature
                                                                    and Dissolved Oxygen TMDLs
                                    City of Yreka    Shasta River
 BPA: Action Plan for the Shasta                                    Within one year of approval of the Phase 11 Small MS4 General Permit, the City of Yreka shall
River Watershed Temperature and                                     develop a plan to minimize, control, and preferably prevent discharges of fine sediment, nutrients and
Dissolved Oxygen Total Maximum                                      other oxygen-consuming materials, and elevated water temperature waste discharge from affecting
           Daily Loads                                              waters of the Shasta River and its tributaries. The plan shall be submitted to the Regional Water
                                                                    Board's Executive Officer for review, comment, and approval. Within four years of approval of the
 Resolution No.: R 1-2006-0052                                      Phase II Small MS4 General Permit, the City of Yreka shall beqin implementinq the plan.




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                                              ATTACHMENT G - Region Specific Requirements
                                  Regional Water Board Approved TMDLs where urban runoff is listed as a source
             TMDL                                    Impaired




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                                     Municipality                                                          Deliverables/Actions Required
  Effective Date/SPA/Res. No.                       Water body

                                                         Region 2: San Francisco Regional Water Board

                                                                 Purpose of Provisions
                                                                 The purpose of these provisions is to implement the requirements of the Napa River sediment TMDL.
                                     Napa
                                     County                      TMDL Wasteload and Load Allocations
                                                                 The Napa River sediment TMDL assigns to municipal storm water a wasteload allocation and load
                                                                 allocation for the roads source category.

                                                                 The sediment wasteload allocation is 600 tons/year and applies to storm water runoff discharges from
                                     City of
                                                                 municipalities' facilities associated with construction and/or maintenance activities.
                                     Napa
                                                                 The load allocation 27,000 metric tons/year of sediment is for the road and stream crossings category
                                                                 and applies to stream crossings and storm water runoff discharges associated with operation of
                                                                 public and private roads, paved and upaved, within the watershed not otherwise covered by NPDES
                                     Town of                     permits. Municipalities share this allocation with another entity (i.e., Caltrans).
                                     Yountville
          Napa River                                             Requirements for Implementing the Napa River Sediment TMDL Wasteload and Load
           Sediment                                              Allocations
Effective Date: January 20, 2011                                  A.         Implementation of Sediment Waste load Allocations
                                     City of St.                   i.        To attain the wasteload allocation, municipalities shall comply with the construction and
BPA: Chapter 7, Water Quality
                                     Helena                                  maintenance requirements of this Order.
Attainment Strategies including
           TMDLs                                    Napa River    B.         Implementation of Sediment Load Allocations
                                                                        i.                  To attain the shared load allocation of 27,000 metric tons/year, municipalities shall
 Resolution No. R2-2009-0064                                                 determine opportunities to retrofit and/or reconstruction of road crossings to minimize road-
                                                                             related sediment delivery (:5500 cubic yards/mile per 20-year period) to stream channels.
                                     City of
                                                                             Specifically, to reduce road-related erosion and protect stream-riparian habitat conditions,
                                     Calistoga
                                                                             municipalities shall by October 31, 2014:
                                                                                •    Adopt and implement best management practices for maintenance of unimproved
                                                                                     (dirt/gravel) roads
                                                                                •    Conduct a survey of stream-crossings associated with paved public roadways
                                     City of                                    •    Develop a prioritized implementation plan for repair and/or replacement of high priority
                                     American                                        crossings/culverts.
                                     Canyon
                                                                 For paved roads, erosion and sediment control actions shall primarily focus on road crossings to meet
                                                                 the sediment load allocation.




    2013-0001-DWQ                                                            2                                                                  February 5, 2013
                                                                                                                                                                       Pls_000475
                                                                                       557
                                                                                                                                                                              MCSP0000229
   Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                              ATTACHMENT G - Region Specific Requirements
                                  Regional Water Board Approved TMDLs where urban runoff is listed as a source
           TMDL                                       Impaired




                                                                                                                                                                                        Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 33 of 43
                                     Municipality                                                            Deliverables/Actions Required
Effective Date/BPA/Res. No.                          Water body

                                                          Region 2: San Francisco Regional Water Board

                                                                   Purpose of Provisions
                                                                   The purpose of these provisions is to implement the requirements of the Sonoma Creek sediment
                                                                   TMDL.

                                                                   TMDL Wasteload and Load Allocations
                                                                   The Sonoma Creek sediment TMDL assigns to municipal storm water a wasteload allocation and
                                                                   load allocation for the roads source category.

                                      County of                    The sediment wasteload allocation is 600 tons/year and applies to storm water runoff discharges from
                                      Sonoma                       municipalities' facilities associated with construction and/or maintenance activities.

                                                                   The load allocation 2,100 tons/year of sediment is for the road and stream crossings category and
                                                                   applies to stream crossings and storm water runoff discharges associated with operation of public
       Sonoma Creek                                                and private roads, paved and upaved, within the watershed not otherwise covered by NPDES
         Sediment                                                  permits. Municipalities share this allocation with another entity (i.e., Caltrans).

Effective Date: September 8,                                       Requirements for Implementing the Sonoma Creek Sediment TMDL Wasteload and Load
            2010                                                   Allocations

                                                                     A.            Implementation of Sediment Wasteload Allocations
BPA: Chapter 7, Water Quality
                                                    Sonoma Creek          i.       To attain the wasteload allocation, municipalities shall comply with the construction and
Attainment Strategies including
           TMDLs                                                                   maintenance requirements of this Order.

Resolution No. R2-2008-0103                                          B.            Implementation of Sediment Load Allocations
                                                                          i.       To attain the shared load allocation of 2,100 tons/year, municipalities shall determine
                                                                                   opportunities to retrofit and/or reconstruction of road crossings to minimize road-related
                                        City of
                                                                                   sediment delivery to stream channels. Specifically, to reduce road-related erosion and
                                        Sonoma
                                                                                   protect stream-riparian habitat conditions, municipalities shall by October 31, 2014:
                                                                                   •   Adopt and implement best management practices for maintenance of unimproved
                                                                                       (dirt/gravel) roads
                                                                                   •   Conduct a survey of stream-crossings associated with paved public roadways
                                                                                   •   Develop a prioritized implementation plan for repair and/or replacement of high priority
                                                                                       crossings/culverts.

                                                                   For paved roads, erosion and sediment control actions shall primarily focus on road crossings to meet
                                                                   the sediment load allocation.




   2013-0001-DWQ                                                               3                                                                 February 5, 2013
                                                                                                                                                                        Pls_000476
                                                                                         558
                                                                                                                                                                                MCSP0000230
    Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                               ATTACHMENT G - Region Specific Requirements
                                   Regional Water Board Approved TMDLs where urban runoff is listed as a source
             TMDL                                     Impaired




                                                                                                                                                                                           Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 34 of 43
                                      Municipality                                                        Deliverables/Actions Required
  Effective Date/BPA/Res. No.                        Water body
                                                          Region 2: San Francisco Regional Water Board
                                                                  Purpose of Provisions
                                                                  The purpose of these provisions is to implement the requirements of the Napa River pathogens TMDl.
                                      Napa
                                      County                      TMDl Wasteload Allocations
                                                                  The Napa River pathogens TMDl assigns a wasteload allocation to municipal storm water as follows:

                                                                    E.coli                      Fecal coliform           Total coliform
                                                                    (CFU/1 OD ml)               (CFU/1 DD ml)            (CFU/1 DD ml)
                                                                    Geometric gom               Geometric     gom        Geom       gom
                                      City of Napa                  Mean         percentile     Mean          percentile etric      perce
                                                                                                                         Mean       ntile
                                                                   <113          <368         <180          <360         <216       <9,00
                                                                                                                                    D
                                                                  These allocations are applicable year-round and apply to any sources (existing or future) subject to regulation by
                                                                  NPDES permit.
          Napa River                    Town of
                                                                  Requirements for Implementing the Napa River Pathogens TMDL Wasteload Allocations
          Pathogens                    Yountville

Effective Date: February 29, 2008                                       Municipalities shall, within 18 months of permit adoption :
                                                                        i.    Public Participation and Outreach. Educate the public regarding sources of fecal coliform and
                                                     Napa River
 BPA: Chapter 7, Water Quality                                                associated health risks of fecal coliform in surface waters. Educate the public regarding actions that
 Attainment Strategies including                                              individuals can take to reduce pathogen loading.
                                       City of St.
            TMDLs
                                        Helena                          ii.     Pet Waste Management. Develop and implement enforceable means of reducing/eliminating fecal
                                                                                coliform loading from pet waste.
 Resolution No. R2-2006-0079
                                                                        iii.    Illicit Discharge Detection and Elimination. Develop and implement strategies to detect and eliminate
                                                                                illicit discharges (whether mistaken or deliberate) of sewage to the Napa River.

                                                                        iv.     Pollution Prevention and Good Housekeeping. Develop and implement strategies to reduce/eliminate
                                        City of                                 fecal coliform loading from streets, parking lots, sidewalks, and other urban areas that potentially
                                       Calistoga                                collect and discharge fecal coliform to the Napa River.


                                                                        v.     Conduct baseline water quality monitoring to evaluate E.coli concentration trends in the Napa River and
                                                                               its tributaries. Table 7-g in Chapter 7, Water Quality Attainment Strategies, presents locations and
                                        City of                                frequency for the required baseline water quality monitoring.
                                       American                         vi.    Report annually on water quality monitoring results and progress made on implementation of human
                                        Canyon                                 and animal runoff reduction measures.




    2013-0001-DWQ                                                         4                                                                       February 5, 2013
                                                                                                                                                                          Pls_000477
                                                                                     559
                                                                                                                                                                                  MCSP000023 l
    Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                               ATTACHMENT G - Region Specific Requirements
                                   Regional Water Board Approved TMDLs where urban runoff is listed as a source
             TMDL                                      Impaired




                                                                                                                                                                                             Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 35 of 43
                                      Municipality                                                             Deliverables/Actions Required
  Effective Date/BPA/Res. No.                         Water body
                                                           Region 2: San Francisco Regional Water Board
                                                                    Purpose of Provisions
                                                                    The purpose of these provisions is to implement the requirements of the Sonoma Creek pathogens TMDL.

                                                                    TMDL Wasteload Allocations
                                                                    The Sonoma Creek pathogens TMDL assigns a wasteload allocation to municipal storm water as follows:

                                                                            E.coli                      Fecal coliform      Total coliform
                                                                        (CFU/100 ml)                   (CFU/100 ml)         (CFU/100 ml)
                                                                     Geometric  90"'                Geometric    90"'      Geom      90"'
                                                                       Mean     percentile          Mean         percentileetric     perce
                                       County of                                                                           Mean      ntile
                                       Sonoma                        <113          <368         <180          <360         <216      <9,00
                                                                                                                                     0
                                                                    These allocations are applicable year-round and apply to any sources (existing or future) subject to regulation by
                                                                    NPDES permit.
        Sonoma Creek
          Pathogens                                                 Requirements for Implementing the Sonoma Creek Pathogens TMDL Wasteload Allocations

Effective Date: February 29, 2008                                            Municipalities shall, within 18 months of permit adoption:

                                                                                   Public Participation and Outreach. Educate the public regarding sources of fecal coliform and
 BPA: Chapter 7, Water Quality
                                                                                   associated heaHh risks of fecal coliform in surface waters. Educate the public regarding actions that
 Attainment Strategies including                     Sonoma Creek                  individuals can take to reduce pathogen loading.
            TMDLs                                                     ii.          Pet Waste Management. Develop and implement enforceable means of reducing/eliminating fecal
                                                                                   coliform loading from pet waste .
 Resolution No. R2-2006-0042                                          iii.         Illicit Discharge Detection and Elimination. Develop and implement strategies to detect and eliminate
                                                                                   illicit discharges (whether mistaken or deliberate) of sewage to Sonoma Creek.
                                                                      iv.          Pollution Prevention and Good Housekeeping. Develop and implement strategies to reduce/eliminate
                                                                                   fecal coliform loading from streets, parking lots, sidewalks, and other urban areas that potentially
                                                                                   collect and discharge fecal coliform to Sonoma Creek.
                                         City of                      V.           Conduct baseline water quality monitoring to evaluate E.coli concentration trends in Sonoma Creek
                                        Sonoma                                     and its tributaries. Table 7-n in Chapter 7, Water Quality Attainment Strategies, presents locations
                                                                                   and frequency for the required baseline water quality monforing .
                                                                      vi.          Report annually on water quality monitoring results and progress made on implementation of human
                                                                                   and animal runoff reduction measures.




    2013-0001-DWQ                                                             5                                                                     February 5, 2013
                                                                                                                                                                            Pls_000478
                                                                                         560
                                                                                                                                                                                    MCSP0000232
    Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                           ATTACHMENT G - Region Specific Requirements
                               Regional Water Board Approved TMDLs where urban runoff is listed as a source
            TMDL                                    Impaired




                                                                                                                                                                                            Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 36 of 43
                                   Municipality                                                           Deliverables/Actions Required
 Effective Date/BPA/Res. No.                       Water body

                                                         Region 2: San Francisco Regional Water Board
                                                                  Purpose of Provisions
                                                                  The purpose of these provisions is to implement the requirements of the Tamales Bay pathogens TMDL.

                                                                  TMDL Wasteload Allocations
                                                                  The Tamales Bay pathogens TMDL assigns a wasteload allocation to municipal storm water as follows:

                                                                                                  Fecal Coliform'
                                                                                                  (MPN/100 ml)
                                                                    For Direct Discharges to Tamales         For Discharges to Major Tamales
                                                                                   Bay                                Bay Tributaries
                                                                    Medianu               90'"                          Log Meanu
                                                                                      percentilec
                                                                     <14                 <43                               <200

         Tomales Bay                                              'These allocations are applicable year-round and apply to any sources (existing or future) subject to regulation by
          Pathogens                               Tomales Bay,    NPDES permit.
                                                                  b Based on a minimum of five consecutive samples equally spaced over a 30-day period.
                                                                  c No more than 10% of total samples during any 30-day period may exceed this number
Effective Date: February 8, 2007                  Lagunitas
                                                  Creek,          Requirements for Implementing the Tomales Bay Pathogens TMDL Wasteload Allocations
                                   Marin
BPA: Chapter 4, Surface Water
                                   County
 Protection and Management,                       Walker Creek,   Municipalities shall, by within 18 months of permit adoption,:
   Nonpoint Source Control                        and
                                                                               Public Participation and Outreach. Educate the public regarding sources of fecal coliform and
 Resolution No. R2-2005-0046                      Olema Creek                  associated health risks of fecal coliform in surface waters. Educate the public regarding actions that
                                                                               individuals can take to reduce pathogen loading.

                                                                    ii.        Pet Waste Management. Develop and implement enforceable means of reducing/eliminating fecal
                                                                               coliform loading from pet waste.

                                                                    iii.       Illicit Discharge Detection and Elimination. Develop and implement strategies to detect and eliminate
                                                                               illicit discharges (whether mistaken or deliberate) of sewage to Tamales Bay.

                                                                    iv.        Pollution Prevention and Good Housekeeping. Develop and implement strategies to reduce/eliminate
                                                                               fecal coliform loading from streets, parking lots, sidewalks, and other urban areas that potentially
                                                                               collect and discharge fecal coliform to Tamales Bay.

                                                                    v.         Report annually on water quality monitoring results and progress made on implementation of human
                                                                               and animal runoff reduction measures.




    2013-0001-DWQ                                                          6                                                                      February 5, 2013
                                                                                                                                                                           Pls_000479
                                                                                    561
                                                                                                                                                                                   MCSP0000233
   Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                              ATTACHMENT G - Region Specific Requirements
                                  Regional Water Board Approved TMDLs where urban runoff is listed as a source
           TMDL                                       Impaired




                                                                                                                                                                                            Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 37 of 43
                                     Municipality                                                          Deliverables/Actions Required
Effective Date/BPA/Res. No.                          Water body
                                                           Region 2: San Francisco Regional Water Board
                                                                   Purpose of Provisions
                                                                   The purpose of these provisions is to implement the requirements of the Richardson Bay pathogens TMDL.
                                    Marin County
                                                                   TMDL Wasteload Allocations
                                                                   The Richardson Bay pathogens TMDL assigns a wasteload allocation to municipal storm water as follows:

                                                                                                    Fecal Coliform'
                                                                                                   (MPN/100 ml)
                                                                                 Median'                    I          90"' Percentile'
                                                    Richardson
                                                                                     <14                    I               <43
                                                    Bay            " These allocations are applicable year-round.
                                     City of Mill
                                                                   b based on a minimum of five consecutive samples equally spaced over a 30-day period
                                       Valley                      c No more than 10% of total samples during any 30-day period may exceed this number

                                                                   Requirements for Implementing the Richardson Bay Pathogens TMDL Wasteload Allocations
       Richardson Bay
          Pathogens
                                                                   Municipalities shall, by within 18 months of permit adoption:
Effective Date: December 18,
                                       City of                                  Public Participation and Outreach. Educate the public regarding sources of fecal coliform and
            2009                                                                associated health risks of fecal coliform in surface waters. Educate the public regarding actions that
                                       Tiburon                                  individuals can take to reduce pathogen loading.
BPA: Chapter 7, Water Quality
Attainment Strategies including                                      ii.        Pet Waste Management. Develop and implement enforceable means of reducing/eliminating fecal
           TMDLs                                                                coliform loading from pet waste.

Resolution No. R2-2008-0061                                          iii.       Illicit Discharge Detection and Elimination. Develop and implement strategies to detect and eliminate
                                                                                illicit discharges (whether mistaken or deliberate) of sewage to Richardson Bay.
                                       City of
                                      Belvedere                      iv.        Pollution Prevention and Good Housekeeping. Develop and implement strategies to reduce/eliminate
                                                                                fecal coliform loading from streets, parking lots, sidewalks, and other urban areas that potentially
                                                                                collect and discharge fecal coliform to Richardson Bay.

                                                                     v.         Report annually on progress made on implementation of pathogen reduction measures.



                                       City of
                                      Sausalito




   2013-0001-DWQ                                                            7                                                                      February 5, 2013
                                                                                                                                                                            Pls_000480
                                                                                     562
                                                                                                                                                                                    MCSP0000234
   Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                             ATTACHMENT G - Region Specific Requirements
                                 Regional Water Board Approved TMDLs where urban runoff is listed as a source
            TMDL                                      Impaired




                                                                                                                                                                                               Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 38 of 43
                                    Municipality                                                               Deliverables/Actions Required
 Effective Date/BPA/Res. No.                         Water body
                                                            Region 2: San Francisco Regional Water Board
                                                                      Purpose of Provision
                                       Marin                          The purpose of the following provisions is to prevent the impairment of urban streams by pesticide-related toxicity.
                                      County                          This provision implements requirements of the TMDL for Diazinon and Pesticide Related Toxicity for Urban
                                                                      Creeks in the San Francisco Bay Region. Pesticides of concern include: organophosphorous pesticides
                                     City of Mill                     (chlorpyrifos , diazinon, and malathion); pyrethroids (bifenthrin, cyfluthrin, beta-cyfluthrin, cypermethrin ,
                                       Valley                         deltamethrin, esfenvalerate, lambda-cyhalothrin, permethrin, and tralomethrin); carbamates (e.g., carbaryl); and
                                                                      fipronil.
                                      City of
                                     Belvedere                        Wasteload Allocations
                                                                      Diazinon: 100 ng/1
                                      Town of                         Toxicity: 1.0 TUa (acute toxicity units) and 1.0 TUc (chronic toxicity units)
                                       Corte
                                      Madera         Arroyo Corte
                                                                      Requirements for Implementing the Wasteload Allocations
                                                      Madera del
                                      Town of          Presidio,      Urban runoff management agencies' responsibilities for addressing the allocations set above will be satisfied by
                                      Fairfax                         complying with the requirements set forth below. Permittees may coordinate with the Bay Area Storm water
                                                    Corte Madera      Management Agencies Association, the Urban Pesticide Pollution Prevention Project, the Urban Pesticide
        Urban Creek                   City of          Creek,         Committee, and other agencies and organizations in carrying out these activities.
 Diazinon & Pesticide Toxicity       Larkspur
                                                    Coyote Creek      A.    Adopt a Pesticide-Related Toxicity Control Program
 Effective Date: May 16, 2007        City of Mill
                                       Valley        (Marin Co.),
                                                                      To prevent the impairment of urban streams by pesticide-related toxicity, adopt an Integrated Pest Management
BPA: BPA - Chapter 3, Toxicity        City of                         Policy (1PM) or Ordinance, applicable to all the permittees' operations and property, as described in the Basin Plan
                                                    Gallinas Creek,
                                      Novato                          amendment (Implementation Section) for this TMDL.
 Resolution No . R2-2005-0063
                                      Town of        Miller Creek,    The 1PM Policy or Ordinance shall be adopted by the permittee's governing body within 18 months of permit
                                       Ross                           adoption .
                                                    Novato Creek,
                                                                      B.   Implement the Pesticide-Related Toxicity Control Program
                                    Town of San                       Implementation actions shall include:
                                     Anselmo         San Antonio
                                                     Creek, and        • Ensure all municipal employees who apply or use pesticides within the scope of their duties are trained in the
                                                                         1PM practices and policy/ordinance .
                                    City of San                        • Require all contractors to implement the 1PM policy/ordinance.
                                                      San Rafael
                                                                       • Keep the County Agricultural Commissioners informed of water quality issues related to pesticides and of
                                      Rafael            Creek            violations of pesticides regulations (e.g., illegal handling) associated with storm water management.
                                      City of                          • Conduct outreach to residents and pest control applicators on less toxic methods of pest control.
                                     Sausalito                         • Keep records of the permittees' own use of pesticides of concern and the pesticide use by the permittees' hired
                                                                         contractors. Report on pesticide use when requested by the Regional Water Board .
                                                                       • Monitor water and sediment for pesticides and associated toxicity in urban creeks via an individual or regional
                                                                         program designed to answer the following questions:
                                      Town of
                                                                                      o    Are the TMDL toxicity targets being met? Is toxicity observed in urban creeks caused by a
                                      Tiburon                                               pesticide?




   2013-0001-DWQ                                                             8                                                                        February 5, 2013
                                                                                                                                                                              Pls_000481
                                                                                        563
                                                                                                                                                                                      MCSP0000235
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                             ATTACHMENT G - Region Specific Requirements
                 Regional Water Board Approved TMDLs where urban runoff is listed as a source
                     County of                       0    Is urban runoff the source of any observed toxicity in urban creeks?




                                                                                                                                                             Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 39 of 43
                     Sonoma      Petaluma            0    How does observed pesticide-related toxicity in urban creeks (or pesticide concentrations
                                 River, and               contributing to such toxicity) vary in lime and magnitude across urban creek watersheds, and
                      City of                             what types of pest control practices contribute to such toxicity?
                     Petaluma                        0    Are actions already being taken to reduce pesticide discharges sufficient to meet the targets,
                                 Calabazas                and if not, what should be done differently?
                                 Creek
                       City of
                      Sonoma




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                                                                                                                                             Pls_000482
                                                         564
                                                                                                                                                     MCSP0000236
    Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                           ATTACHMENT G - Region Specific Requirements
                               Regional Water Board Approved TMDLs where urban runoff is listed as a source
           TMDL




                                                                                                                                                                                         Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 40 of 43
                                                  Impaired
          Effective               Municipality                                           Deliverables/Actions Required/Wasteload Allocations
                                                 Water body
     Date/BPA/Res. No.

                                                        Region 3: Central Coast Regional Water Board
                                                                Purpose of Provisions
                                                                The purpose of these provisions is to implement the requirements of the Morro Bay (Chorro and Los Osos Creeks)
                                                                Pathogen TMDL.

                                                                TMDL Wasteload Allocations
                                                                The City of Morro Bay and County of San Luis Obispo are assigned the following wasteload allocations: 1) for
                                                                discharges to Los Osos Creek, Chorro Creek, and their tributaries, the fecal coliform geometric mean concentration
                                                                shall not exceed 200 MPN/100 ml over a 30-day period nor shall 10% of the samples exceed 400 MPN/100 ml
                                 City of Morro                  over any 30-day period. 2) For discharges to Morro Bay, the fecal coliform geometric mean concentration of 14
                                 Bay                            MPN/100 ml must be achieved and no more than 10% of the samples may be over 43 MPN/100 ml.
                                                  Morro Bay
                                                                Provisions for Implementing TMDL
                                                 Chorro Creek   Within one year of adoption of this Order, the City of Morro Bay and County of San Luis Obispo shall each develop,
                                                                submit, and begin implementation of a Wasteload Allocation Attainment Program that identifies the actions they will
                                                  Los Osos      take to attain their wasteload allocations. The Wasteload Allocation Attainment Programs shall include:
                                                   Creek
TMDL and Implementation Plan                                    1.   A detailed description of the strategy the MS4 will use to guide BMP selection, assessment, and
 for Pathogens for Morro Bay                                         implementation, to ensure that BMPs implemented will be effective at abating pollutant sources, reducing
                                                  Pennington         pollutant discharges, and achieving wasteload allocations according to the TMDL schedule
  and Chorro and Los Osos
                                                    Creek       2.   Identification of sources of the impairment within the MS4's jurisdiction, including specific information on
           Creeks
                                                                     various source locations and their magnitude within the jurisdiction.
                                                 San Bernardo   3.   Prioritization of sources within the MS4's jurisdiction, based on suspected contribution to the impairment ,
  Effective Date: 11/19/2003                                         ability to control the source, and other pertinent factors.
                                                    Creek
                                                                4.   Identification of BMPs that will address the sources of impairing pollutants and reduce the discharge of
       BPA: Chapter 4                                                impairing pollutants.
                                                  San Luisito
                                                                5.   Prioritization of BMPs, based on suspected effectiveness at abating sources and reducing impairing pollutant
                                                    Creek
 Resolution No. R3-2003-0060                                         discharges, as well as other pertinent factors.
                                                                6.   Identification of BMPs the MS4 will implement, including a detailed implementation schedule. For each BMP,
                                                   Walters           identify milestones the MS4 will use for tracking implementation, measurable goals the MS4 will use to
                                                   Creek             assess implementation efforts, and measures and targets the MS4 will use to assess effectiveness . MS4s
                                   County of                         shall include expected BMP implementation for future implementation years, with the understanding that
                                   San Luis        Warden            future BMP implementation plans may change as new information is obtained .
                                    Obispo         Creek        7.   A quantifiable numeric analysis demonstrating the BMPs selected for implementation will likely achieve,
                                                                     based on modeling, published BMP pollutant removal performance estimates, best professional judgment,
                                                                     and/or other available tools , the MS4's wasteload allocation according to the schedule identified in the TMDL.
                                                                     This analysis will most likely incorporate modeling efforts. The MS4 shall conduct repeat numeric analyses
                                                                     as the BMP implementation plans evolve and information on BMP effectiveness is generated. Once the MS4
                                                                     has water quality data from its monitoring program , the MS4 shall incorporate water quality data into the
                                                                     numeric analyses to validate BMP implementation plans
                                                                8.   A detailed description, including a schedule, of a monitoring program the MS4 will implement to assess
                                                                     discharge and receiving water quality, BMP effectiveness, and progress towards any interim targets and
                                                                     ultimate attainment of the MS4's wasteload allocation. The monitoring program shall be designed to validate
                                                                     BMP implementation efforts and quantitatively demonstrate attainment interim targets and wasteload




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                                                                                                                                                                        Pls_000483
                                                                                  565
                                                                                                                                                                                MCSP0000237
Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                     Regional Water Board Approved TMDLs where urban runoff is listed as a source
       TMDL




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                                        Impaired
      Effective         Municipality                                           Deliverables/Actions Required/Wasteload Allocations
                                       Water body
 Date/BPA/Res. No.
                                            Region 3: Central Coast Regional Water Board
                                                           allocations . If the approved TMDL does not explicitly include interim targets, the MS4 shall establish interim
                                                           targets (and dates when stormwater discharge conditions will be evaluated) that are equally spaced in lime
                                                           over the TMDL compliance schedule and represent measurable, continually decreasing MS4 discharge
                                                           concentrations or other appropriate interim measures of pollution reduction and progress towards the
                                                           waste load allocation. Al least one interim target and dale must occur during the five-year term of this Order.
                                                           The MS4 shall achieve its interim targets by the dale ii specifies in the Wasteload Allocation Attainment
                                                           Program. If the MS4 does not achieve its interim target by the date specified, the MS4 shall develop and
                                                           implement more effective BMPs that it can quantitatively demonstrate will achieve the next interim target.
                                                    9.     A detailed description of how the MS4 will assess BMP and program effectiveness. The description shall
                                                           incorporate the assessment methods described in the CASQA Municipal Storm water Program Effectiveness
                                                           Assessment Guide.
                                                    10.    A detailed description of how the MS4 will modify the program to improve upon BMPs determined to be
                                                           ineffective during the effectiveness assessment.
                                                    11 .   A detailed description of information the MS4 will include in annual reports to demonstrate adequate progress
                                                           towards attainment of wasteload allocations according to the TMDL schedule.
                                                    12.    A detailed description of how the MS4 will collaborate with other agencies, stakeholders, and the public to
                                                           develop and implement the Wasteload Allocation Attainment Program.
                                                    13.    Any other items identified by Integrated Report fact sheets, TMDL Project Reports, TMDL Resolutions, or that
                                                           are currently being implemented by the MS4 to control its contribution to the impairment.

                                                    All allocations shall be achieved by November 19, 2013.




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                                                                                                                                                                     MCSP0000238
  Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                          ATTACHMENT G - Region Specific Requirements
                              Regional Water Board Approved TMDLs where urban runoff is listed as a source
          TMDL




                                                                                                                                                                                            Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 42 of 43
                                                 Impaired
         Effective               Municipality                                             Deliverables/Actions Required/Wasteload Allocations
                                                Water body
    Date/BPA/Res. No.
                                                       Region 3: Central Coast Regional Water Board
                                                                Purpose of Provisions
                                                                The purpose of these provisions is to implement the requirements of the Watsonville Slough Pathogen TMDL.

                                                                TMDL Wasteload Allocations
                                                                The City of Watsonville and the County of Santa Cruz are assigned the following concentration based wasteload
                                                                allocation: Fecal coliform concentration, based on a minimum offive samples for any 30-day period, shall not
                                                                exceed a log mean of 200 MPN per 100ml, nor shall more than ten percent of total samples collected during any
                                                                30-day period exceed 400 MPN per 100ml.

                                                                These wasteload allocations are receiving water allocations; storm water discharge cannot cause or contribute to
                                                                exceedance of the allocations as measured in receiving water.

                                                 Watsonville    The City of Watsonville is assigned allocations in the following water bodies: Watsonville , Struve, Harkins ,
 Watsonville Slough Total                         Slough        Gallighan and Hanson Sloughs.
 Maximum Daily Load and
 Implementation Plan for                        Struve Slough   The County of Santa Cruz is assigned allocation in the following water bodies: Watsonville, Struve and Harkins
                                                                Sloughs.
       Pathogens
                                  City of
                                                   Harkins      Provisions for Implementing the TMDL
                                 Watsonville
 Effective Date: 11/20/2006                        Slough       The City and County public participation and outreach efforts must include the following tasks: a) Educating the
                                                                public about sources of fecal coliform and its associated health risks in surface waters; and b) Identifying and
      BPA: Chapter 4                              Gallighan     promoting specific actions that responsible parties can implement to reduce pathogen loading from sources such
                                                   Slough       as homeless encampments, agricultural field workers, and homeowners who contribute waste from domestic pets .
Resolution No. R3-2006-0025
                                                   Hanson       The County of Santa Cruz and City of Watsonville shall implement practices that will assure their allocation is
                                                   Slough       achieved. By June 30, 2013, the County of Santa Cruz and City of Watsonville shall each develop, submit, and
                                                                begin implementation of a Wasteload Allocation Attainment Program that identifies the actions they will take to
                                                                attain their wasteload allocations. The Wasteload Allocation Attainment Programs shall include:

                                                                1.   A detailed description of the strategy the MS4 will use to guide BMP selection , assessment, and
                                                                     implementation, to ensure that BMPs implemented will be effective at abating pollutant sources, reducing
                                                                     pollutant discharges, and achieving wasteload allocations according to the TMDL schedule.
                                                                2.   Identification of sources of the impairment within the MS4's jurisdiction, including specific information on
                                                                     various source locations and their magnitude within the jurisdiction.
                                                                3.   Prioritization of sources within the MS4's jurisdiction, based on suspected contribution to the impairment,
                                                                     ability to control the source, and other pertinent factors.
                                                                4.   Identification of BMPs that will address the sources of impairing pollutants and reduce the discharge of
                                                                     impairing pollutants.




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                                                                                                                                                                                    MCSP0000239
Phase II Small MS4 General Permit                                       NPDES General Permit No.S000004
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                                 ATTACHMENT G - Region Specific Requirements
                     Regional Water Board Approved TMDLs where urban runoff is listed as a source
       TMDL




                                                                                                                                                                            Case 2:20-cv-02482-WBS-AC Document 45-16 Filed 06/28/22 Page 43 of 43
                                        Impaired
      Effective         Municipality                                          Deliverables/Actions Required/Wasteload Allocations
                                       Water body
 Date/BPA/Res. No.
                                            Region 3: Central Coast Regional Water Board
                                                    5.    Prioritization of BMPs, based on suspected effectiveness at abating sources and reducing impairing pollutant
                                                          discharges, as well as other pertinent factors.
                                                    6.    Identification of BMPs the MS4 will implement, including a detailed implementation schedule. For each BMP,
                                                          identify milestones the MS4 will use for tracking implementation , measurable goals the MS4 will use to
                                                          assess implementation efforts, and measures and targets the MS4 will use to assess effectiveness. MS4s
                                                          shall include expected BMP implementation for future implementation years, with the understanding that
                                                          future BMP implementation plans may change as new information is obtained.
                                                    7.    A quantifiable numeric analysis demonstrating the BMPs selected for implementation will likely achieve,
                                                          based on modeling, published BMP pollutant removal performance estimates, best professional judgment,
                                                          and/or other available tools, the MS4's wasteload allocation according to the schedule identified in the TMDL.
                                                          This analysis will most likely incorporate modeling efforts. The MS4 shall conduct repeat numeric analyses
                                                          as the BMP implementation plans evolve and information on BMP effectiveness is generated. Once the MS4
                                                          has water quality data from its monitoring program, the MS4 shall incorporate water quality data into the
                                                          numeric analyses to validate BMP implementation plans.
                                                    8.    A detailed description, including a schedule, of a monitoring program the MS4 will implement to assess
                                                          discharge and receiving water quality, BMP effectiveness, and progress towards any interim targets and
                                                          ultimate attainment of the MS4s' wasteload allocation. The monitoring program shall be designed to validate
                                                          BMP implementation efforts and quantitatively demonstrate attainment of interim targets and wasteload
                                                          allocations. If the approved TMDL does not explicitly include interim targets, the MS4 shall establish interim
                         County of                        targets (and dates when stormwater discharge conditions will be evaluated) that are equally spaced in lime
                        Santa Cruz                        over the TMDL compliance schedule and represent measurable, continually decreasing MS4 discharge
                                                          concentrations or other appropriate interim measures of pollution reduction and progress towards the
                                                          waste load allocation. At least one interim target and date must occur during the five-year term of this Order.
                                                          The MS4 shall achieve its interim targets by the date ii specifies in the Wasteload Allocation Attainment
                                                          Program. If the MS4 does not achieve its interim target by the date specified, the MS4 shall develop and
                                                          implement more effective BMPs that it can quantitatively demonstrate will achieve the next interim target.
                                                    9.    A detailed description of how the MS4 will assess BMP and program effectiveness. The description shall
                                                          incorporate the assessment methods described in the CASQA Municipal Storm water Program Effectiveness
                                                          Assessment Guide.
                                                    10.   A detailed description of how the MS4 will modify the program to improve upon BMPs determined to be
                                                          ineffective during the effectiveness assessment.
                                                    11.   A detailed description of information the MS4 will include in annual reports to demonstrate adequate progress
                                                          towards attainment of wasteload allocations according to the TMDL schedule.
                                                    12.   A detailed description of how the MS4 will collaborate with other agencies, stakeholders , and the public to
                                                          develop and implement the Wasteload Allocation Attainment Program.
                                                    13.   Any other items identified by Integrated Report fact sheets, TMDL Project Reports, TMDL Resolutions, or that
                                                          are currently being implemented by the MS4 to control its contribution to the impairment, including public
                                                          education and participation items identified above.

                                                    All allocations shall be achieved by November 20, 2016.




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